Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document     Page 1 of 26
Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document     Page 2 of 26
Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document     Page 3 of 26
Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document     Page 4 of 26
Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document     Page 5 of 26
Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document     Page 6 of 26
Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document     Page 7 of 26
Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document     Page 8 of 26
Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document     Page 9 of 26
Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document    Page 10 of 26
Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document    Page 11 of 26
Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document    Page 12 of 26
Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document    Page 13 of 26
Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document    Page 14 of 26
Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document    Page 15 of 26
Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document    Page 16 of 26
Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document    Page 17 of 26
Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document    Page 18 of 26
Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document    Page 19 of 26
Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document    Page 20 of 26
Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document    Page 21 of 26
Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document    Page 22 of 26
Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document    Page 23 of 26
Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document    Page 24 of 26
Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document    Page 25 of 26
Case 9:18-bk-12033-DS   Doc 14 Filed 12/20/18 Entered 12/20/18 10:43:03   Desc
                        Main Document    Page 26 of 26
